               Case 1:13-cr-00229-ELR-JSA Document 122 Filed 05/23/14 Page 1 of 1




                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION


             UNITED STATES OF AMERICA,
                                                        CRIMINAL CASE NO.
             v.
                                                        1:13-cr-229-02-JEC-JSA
             PABLO SAUCEDO-APARICIO,


                  Defendant.

                                                ORDER

                   This case is before the Court on the Magistrate Judge’s Report

             and Recommendation [91] recommending accepting defendant’s plea of

             guilty tendered on December 5, 2013. No objections to the Report and

             Recommendation [91] have been filed.

                   It is hereby Ordered that the Court ADOPTS the Magistrate

             Judge’s Report and Recommendation [91] and ACCEPTS the defendant’s

             plea of guilty as to Counts One and Three of the Indictment.

                   SO ORDERED this 23rd day of May, 2014.



                                               /s/ Julie E. Carnes
                                               JULIE E. CARNES
                                               CHIEF U.S. DISTRICT JUDGE




AO 72A
(Rev.8/82)
